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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
   UNITED STATES OF AMERICA

   -vs-                                                    Case No. 6:07-cr-107-Orl-28UAM

   IRIS PACHECO
   __________________________________

                                             ORDER

          Defendant Iris Pacheco has filed her Motion to Consolidate Related Cases (Doc. 268).

   In her motion, Ms. Pacheco requests that this case be consolidated with the case of United

   States v. Carlos Rodriguez-Colon, 6:07-cr-68 -GAP-UAM, which is presently pending before

   United States District Judge Gregory A. Presnell.

          Rodriguez-Colon was arrested on April 18, 2007 and an indictment was returned and

   filed on May 9, 2007. His case was originally set for the July 2007 trial term but has twice

   been continued and is currently set for trial in September 2007. Rodriguez-Colon filed a

   motion to suppress evidence in that case, and a hearing on that motion is scheduled for

   August 10, 2007.

          Ms. Pacheco was arrested on June 13, 2007 and an indictment was returned and filed

   on July 12, 2007, charging her and thirty co-defendants with violations of federal law.

   Twenty-one of the co-defendants, including Ms. Pacheco, have been arraigned and are set

   for trial during the September 2007 trial term. Three other co-defendants are set for trial in

   October 2007. The remaining seven co-defendants have not yet been arrested. The
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   Government did not mention Rodriguez-Colon’s case in its Notice of Pendency of Related

   Cases (Doc. 203) filed in this case.

          Defendants in criminal cases often seek severance and separate trials, but it is indeed

   unusual for a defendant to seek joinder of her case with another pending case involving the

   same or related charges. Rule 13, Federal Rules of Criminal Procedure, specifically grants

   the district court discretion to consolidate criminal cases; the rule provides that the judge

   “may order that separate cases be tried together as though brought in a single indictment

   or information if all offenses and all defendants could have been joined in a single indictment

   or information.” (Emphasis added). In the absence of a response to Ms. Pacheco’s motion

   by the Government, I assume for the purpose of addressing the motion that all thirty-one

   defendants in Ms. Pacheco’s case could have been charged in the same indictment as

   Rodriguez-Colon.

          Under Rule 13, I have discretion to consolidate this case with the Rodriquez-Colon

   case, but Ms. Pacheco advances no argument as to why the relief she seeks should be

   granted other than to broadly state that such action would serve judicial economy. The

   assertion that such action would be economical is belied by the circumstances of these

   cases. Although both cases are set for trial in September, it is unlikely that this case will

   proceed at that time given the fact that three co-defendants are set for trial in October and

   others have yet to be arrested. The September trial term is the first time this case has been

   set for trial. Either a continuance or multiple trials will be required whether this case is

   transferred to Judge Presnell or not.



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         Rule 13 does provide courts the flexibility to consolidate cases in furtherance of

   fairness or judicial economy, but courts must guard against the use of the rule as a means

   of forum shopping. In the instant case, Ms. Pacheco has failed to present a grounded basis

   to support her motion. The Motion to Consolidate Related Cases (Doc. 268) is therefore

   DENIED.

             DONE and ORDERED in Orlando, Florida on this 3rd day of August, 2007.




   Copies furnished to:

   United States Marshal
   United States Attorney
   United States Probation Office
   United States Pretrial Services Office
   Counsel for Defendant
   MIGUEL ANTONIO MONTES
   LUIS GONZALEZ
   ELIAS MALDONADO
   LUIS PEREZ
   GIOVANNY RIVERA-SANCHEZ
   ADOLFO CEPERO
   LESTER CEPERO
   EVAN MOUNIER
   RICARDITO VASQUEZ
   CHRISTIAN ANGUEIRA
   RICARDO ORTIZ
   MIGUEL A. RODRIGUEZ-TORRES
   GIORLIANA CORTIJO
   MITCHELL LOPEZ
   STEVEN SAVINON
   RICARDO ENRIQUE PERLAZA
   FELIX A. HERNANDEZ

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   NESTOR QUINONES
   JAVIER CRUZ ARROYO
   CARLOS IRIZARRY
   GRETCHEN MELENDEZ
   IRIS PACHECO
   MARIA ADAMES
   LOANA CORTIJO
   DAMARIS CRUZ
   IDA ACEVEDO
   MARY JANE NAZARIO
   JORGE CORTIJO
   JESSICA LUGO
   EVELYN COLON-ROCHE
   WILLIAM ERAZO




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